% A 0 24jB     (Rev. 06/05)Case   2:07-cr-00034-DWM
                                    in a Criminal Case
                            ludgmcr~t                              Document 61 Filed 01/24/08 Page 1 of 6
               Sheet I                                                                      ,.-. . J.'.,;c Etd\ITEREU
                                                                                                             IN C            K           I            ~



                  BUTTE DIVISION                                     Dlstnct of
          UNITED STATES OF AMERICA                                           JUDGMENT IN
                              v.
                                                                             Case Number:                       CR 07-34-BU-DWM-02
                  RUBEN MARTINEZ                                             USM Number:                        0981 0-046

                                                                             Anthony R. Gallagher
                                                                              Defmdant's Attomcy
THE DEFENDANT:
  leaded guilty to count(s)
   pleaded nolo contendere to count(s)
   which was accepted by the court.
X was found guilty on count(s)          I and I11
   after a plea of not guilty.

The defendant is adludicated guilty of these offenses:

Title & Section                  Nature of Offense                                                              Offense Ended                 Count
21 U.S.C. $ 841(b)(l)(A)         Conspiracy to distribute methamphetamine                                         July 2007                      I
18 U.S.C. $ 924(c)(1)            Possession of a firearm in furtherance of a drug trafficking crime               July 2007                     I11




       The defendant is sentenced as provided in pages 2 through                     6       of t h s judgment. The sentence is impnsedpursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
X Count(s)      1V                                        X is           are dismissed on the motion of the United States.

          It I \ ordered that the dctind3nt must notily the 111111cd  States 3110meyti)r thts dlinict ~ ~ r h 30
                                                                                                              i nd 3 \ ofan\ change o f n m e r c s ~ d e n ~ r .
or nulI!ng adclrci\ unul all fines. restltutlon. :(,st\. an,, ,pca313sscssments impused by th~s;~dginent
the defendant mu,[ norlty the :oun and Ilnlrcd States anorney ofnwtcr~al:hanycs in c~onorm:circunisrances
                                                                                                                             "lt
                                                                                                             are filtl!. paid 1;rdcrr.d to pay'rcrlitutton.




                                                                              Donald     4.d.
                                                                              Name and %of
                                                                                            C h e f Judge
                                                                                              .Iudge


                                                                              Januaw 24.2008
                                                                              Datc
A 0 245B                 -    Casein2:07-cr-00034-DWM
            l K e v 06/05). .Judgment Criminal Case            Document 61 Filed 01/24/08 Page 2 of 6
            Sheet 2     Imprisonment
                                                                                                     .ludgmenr - Page          of   6
DEFENDANT:                   RUBEN MARTINEZ
CASE NUMBER:                 CR 07-34-BU-DWM-02


                                                            IMPRISONMENT

             Thc defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of.


           180 months; to consist of 120 months on Count I and 60 months on Count 111, to run consecutively


             Thc court makes the following recommendations to the Bureau of Prisons:




       X     The defendant is remanded to the custody of the United States Marshal.

             The defendant shall surrender to the United States Marshal for this district:

                  a                                  a.m.          p.m.        on

                  as notified by the United States Marshal.

             The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                   before 2 p.m.

                   as notified by the United States Marshal.

                   as notified by the Probation or Pretrial Services Office.



                                                                  RETURN
 I have executed this judgment as follows:




              Defendant delivered                                                        to

 at                                                , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL



                                                                          BY
                                                                                               IIEPVI'Y UNI IkII SI'AIES MARSIiAL
A 0 245H       (Rev. 06/05) Judgnlent in a Crintinal Case
                              CaseRelease
               Sheet 3 --Supervised    2:07-cr-00034-DWM                   Document 61 Filed 01/24/08 Page 3 of 6
                                                                                                                           Judgment-Page     3ol                    6
DEFENDANT:                       RUBEN MARTINEZ
CASE NUMBER:                     CR 07-34-BU-DWM-02
                                                                SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :

             5 years; to consist of 5 years on Count I and 5 years on Count 111, to run concurrently



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use o f a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two perlod~cdlUg tests
thereafter, as deterrmned by the court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
 X        The defendant shall not possess a firearm; ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
          The defendant shall register with the state sex offender registration agency in the state whcre the dcfendant resides, works, or is a
          student, as directed by the probation officer. (Check, if applicable.)
          The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule o f l ~ a ~ m e nsheet
                            t s of t h s judgment.
       The defendant must comply with thc standard conditions that have been adopted by this court as well as with any additional conditions
     the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
     1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)     the defendant shall report to the probation officer and shall submit a truthful and completc written rcport within the first five days of
            each month;
     3)     thc defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall support his or her dependents and meet other family responsibilities;
     5)     the defcndant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, djstribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescnbed by a phys~c~an;
     8)     the defendant shall not frequent placcs where controlled substances are illegally sold, used, distributed, or administered;
     ')     Ihc dcf~nrlmr,hall nor J S S O C I ~ ~nC ~~ r hany persons cn aged in criminal a;ri\.ily and s h l l nor ~ s s o ; t a ~\er ~ r h3ny person c o n ~ l c l ~Ofd a
            ~clony.unles\ gr~nlerlpernli>.;lon to do ;o hy rl~eprc)t3ttc)n oiticer.
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation o f f ~ c e e
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officeer
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court; and
  13)       as d~reclcdhy thi robarion offt:er. the defcn.i3nl shall 11otliythird p3r11e~ ,,f r ~ s k srhl m y bc 1~cc3st11ncrl
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                                 7
            record or p c r s o n ~ h~sloryor :h3r3clerislics and shall perm1 the pr,,halion ofticer ro mike 511chno11licaric)nsand lo confirnl the
            defendant's con~pl~dnce     w.rh such n o t ~ f i c a t l ~rc+~rcn~:nt
                                                                        ~n
A 0 245B   (Rev 06/05)Judgment in a Criminal r a s e
           Sheet 3 CCase      2:07-cr-00034-DWM
                      Supervised Release               Document 61 Filed 01/24/08 Page 4 of 6

DEFENDANT:             RUBEN MARTINEZ
CASE NUMBER:           CR 07-34-BU-DWM-02

                                   SPECIAL CONDITIONS OF SUPERVISION

1. Defendant shall participate in substance abuse testing, to include not more than 104 urinalysis tests and not
   more than 104 breathalyzer tests annually during the period of supervision. Defendant is to pay all or part of
   the costs of testing as determined by the United States Probation Office.
2. Defendant shall participate in and complete a program of substance abuse treatment as approved by the United
   States Probation Office, until the Defendant is released from the program by the probation office. Defendant is
   to pay part or all of the cost of this treatment, as determined by the United States Probation Office.
3.   Defendant shall submit his person, residence, place of enlployment, or vehicle, to a search, conducted by a
     United States Probation Officer, based on reasonable suspicion of contraband or evidence in violation of a
     condition of release. Failure to submit to search may be grounds for revocation. Defendant shall warn any
     other residents that the premises may be subject to searches under the terms of the condition.
4.   Defendant shall abstain from the consumption of alcohol and shall not enter establishments where alcohol is
     the primary item of sale. This condition supersedes standard condition number 7 with respect to alcohol
     consumption only.
5. Pursuant to the Violent Crime Control Act of 1994, the Defendant is required to notify the United States
   Probation Office ten (10) days prlor to change of address.
6 . Defendant shall not possess any police radio scanning devices or possess any computer hardware or software
    that would enable the Defendant to monitor law enforcement activity.
A 0 2458   (Rev. 06105) Judgmenl in a Criminal Case
                         Case
           Sheet 5 -Criminal     2:07-cr-00034-DWM
                              Monetary   Penalties            Document 61 Filed 01/24/08 Page 5 of 6
                                                                                                     Judgment - Page   5of                6
 DEFENDANT:                      RUBEN MARTINEZ
 CASE NUMBER:                    CR 07-34-BU-DWM-02
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                                                             Restitution
 TOTALS           $   200                                                                                $



     The determination of restitution is deferred until   -. An Amended Judgment in a Criminal Case ( A 0 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximate1 ro ortioned ayment, unless specified otherwise
     the priority order or percentage payment columntelow. However, pursuant to 1 8 V s . 8 . 5 366461, all nonfederal vlcums must be paid
     before the Un~tedStates 1s pa~d.

 Name of Payee                                Total Loss*                      Restitution Ordered                     Priority o r Percentaee




 TOTALS                            $                           0           $                             0


       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 9 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 5 36 12(g).

       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

           the interest requirement is waived for the         tine          restitution.
           the interest requirement for the           fine         restitution is modified as follows:



 *Findings for the total amount of losses are requiredunder Chapters 109A, 1 10, 110A, and 113A of Title 18 for offenses committedonor after
 September 13, 1994, but before April 23, 1996.
A02 4 R    ( R e v 06105) ludgmrnl in a Cviminal Case
                          Caseof2:07-cr-00034-DWM
           Sheet 6 -Schedule       Payments                   Document 61 Filed 01/24/08 Page 6 of 6
                                                                                                         Judgment- Page              of         6
DEFENDANT:                 RUBEN MARTINEZ
CASE NUMBER:               CR 07-34-BU-DWM-02

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetarypenalties are due as follows:

A          Lump sum payment of $                             due immediately, balance due

                 not later than                                   , 01
                 in accordance             C,         D,           E, or         F below; or

B          Payment to begin immediately (may he combined with               C.           D1 or       F below); or

C          Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        ( e g . , months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                  (eg., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    X    Special instmctions regarding the payment of criminal monetary penalties:

           Defendant shall pay to the United States a special assessment of $200, which shall be due immediately or at a rate of not less than
           $25 per quaner.




Unless the eourthas express1 ordered otherwise, ifthis judgment imposes imprisonment, aqnlent ofcriminal monetary penalties is due durin
                              Y                                                                R
imprisonment. All cr~rnina monetar penalties, except those payments made throng the Federal Bureau of Prlsons' Inmate Financia
Responslb~lltyProgram are made to tge clerk of the court.
                                                                                                                                                    9
 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost ofprosecution.

      The defendant shall pay the following court cost(s):

 0    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall he applied in the follow~ngorder: (1) assessment, (2) restitution principal, ( 3 ) restitution interest, (3) fme principal,
 ( 5 ) fine merest, (6) community restltutlon, (7) penalties, and (8) costs. including cost ofprosecution and coun costs.
